        In the United States District Court for the Northern District of Texas
                                       Dallas Division


Sonya L. Chapman                             §
             Plaintif f                      §
V.                                           §              No. 3:23-cv-00799-K-BN
                                             §              Jury Demand
ADT LLC et seq                               §
            Defendant                        §
                                             §


      Plaintiffs Supplemental Statement of Claim in Response to the Courts Findings,
                           Conclusions, and Recommendation


TO THE HONORABLE JUDGE OF SAID COURT:
        Plaintiff Sonya L. Chapman, now comes to file her Restatement of Claim for unlawful
employment practices in violation of 42 U.S.C. 2000e et seq, 42 U.S.C. 1981, 10th Amendment
Bill of Rights, 14th Amendment Due Process, in response to the Courts Findings, Conclusions,
and Recommendation. 28 U.S.C Sec. 770 Trial by Jury (Trial of Issues of Fact)
                                        Discovery Plan
       1. Plaintiff intends to conduct discovery in this matter under Level 1, 2, and 3 of the
          Texas Rules of Civil Procedure.
                                             Parties
       2. Plaintiff Sonya L. Chapman is a citizen and resident of the United States, residing in
          Dallas County, Texas.
       3. Defendant is a limited liability company organized under the laws of the state of
          Delaware with its principal place of business located at 1501 Yamato Rd. Boca
          Raton, Fl 33431.




      Plaintiffs Supplemental Statement of Claim in Response to the Courts Findings,
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                                    Jurisdiction and Venue
 4. Jurisdiction is invoked pursuant to 28 U.S.C. Sec. 1343 (a)(4) and 28 U.S.C. Sec.
    1331.
 5. This is an action at law and equity to redress violations of Title VII of the Civil
    Rights Act of 1964, 42 U.S.C. Sec. 1981, declaratory and injunctive relief pursuant to
    28 U.S.C. Sec. 2201 and 2202.
 6. Venue is proper under 28 U.S.C. Sec. 1391(b), at all relevant times the activities
    giving rise to this action took place in Dallas, County, Texas in which this court has
    jurisdiction.
                                        A. Background
    1. Duty to Prevent
 7. ADT LLC (“Defendants”) have a duty to prevent discriminatory actions to Plaintiff.
 8. Plaintiff and “Defendants” had an employer- employee relationship.
 9. “Defendants” failed to prevent harm to Plaintiff from discrimination and harassment
    for opposing discriminatory actions committed by “Defendants”.
 10. “Defendants” breached that duty by failing to prevent discrimination and harassment
     to Plaintiff.
 11. “Defendants” directly and or indirectly caused harm to Plaintiff by discharging her
     because she opposed their discriminatory treatment.
 12. “Defendants” actions wholly and or in part affected the terms, conditions, and
     privileges of Plaintiffs employment.
 13. At all times complained of in this complaint, Plaintiff had a right to be treated by
     “Defendants” the same as similarly situated white employees.
 14. “Defendants” knew or should have known the actions described herein were
     wrongful, and seen as discriminative and retaliatory.
 15. “Defendants” knew or should have known the law regarding preventing
     discriminatory and retaliatory acts.
 16. “Defendants” failed to train, and or supervise their supervisors, managers, human
     resource agents in order to prevent the actions described herein, and complained of by
     Plaintiff.
 17. “Defendants” failed to supervise the managers, training team, and supervisors
     complained of in this complaint to prevent harassment in their workplace.
                                                                                             2

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 18. “Defendants” are required to have posted and follow the laws regarding
     discrimination.
 19. “Defendants” breach and or failure to prevent harm to Plaintiff because of her race is
     the direct and or proximate cause of Plaintiffs injuries.
 20. Plaintiff did not have the option to make a written complaint, because “Defendants’
     did not have a policy for written complaints.
 21. Plaintiff asked “Defendants” Ashley Merrick on March 7, 2022, if there was an
     appeal process for her discharge from employment, and “Defendants” denied having
     an appeals process for terminations.


    2. Damages/Intentional Harm
 22. Plaintiff was harmed by her loss of employment.
 23. Loss of employment caused emotional distress, loss if income, loss of consortium,
     and loss of enjoyment of life.
 24. Plaintiff during her tenure managed to refrain from her nicotine use, and the day of
     her termination started using nicotine again from the stress of her discharge.
 25. Plaintiff started using nicotine again due to the stress of diligently working for the
     promotion “Defendants” maliciously, wrongfully took from her.
 26. “Defendants” acted with intent to harm Plaintiff in terminating her employment,
     causing emotional distress.
 27. Plaintiff’s emotional distress is continuous and ongoing.
 28. Plaintiff was intentionally targeted by Defendants to commit their acts of
     discrimination and prejudicial treatment.
 29. “Defendants” are responsible for hiring the supervisors, managers, and Human
     Resource agents who acted with malice and intent to deprive Plaintiff of due process.
 30. “Defendants” made a false inference that Plaintiff stole time in their disciplinary
     action terminating Plaintiffs employment.
 31. Plaintiff professional reputation was harmed with their statement Plaintiff would not
     begin work while on the clock.
 32. “Defendants” false statement that Plaintiff would not begin work on time insinuates
     Plaintiff was stealing time and is defamatory.


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Plaintiffs Supplemental Statement of Claim in Response to the Courts Findings,
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 33. “Defendants” comments made using their written corrective action is false causing
     libel and slander.
 34. “Defendants” reason for terminating Plaintiff (unable to perform duties) is shady,
     questionable, and suspicious.
 35. Plaintiff was terminated for opposing “Defendants” treatment.
 36. “Defendants” retaliated against Plaintiff for opposing their treatment.
 37. “Defendants” intentionally, maliciously oppressed Plaintiff as their actions
     complained of herein are foreseeable oppressive and intentional.
 38. Plaintiff harm caused is due to “Defendants” actual malice and intent to harm
     Plaintiff.
 39. It is “Defendants” fault Plaintiff suffered collaborative simultaneous injury at all
     times as described herein.
 40. “Defendants” negligence either collaboratively or independently is the proximate
     cause of Plaintiffs injuries.
 41. “Defendants” were hostile towards Plaintiff by conspiring to deprive her of her
     promotion in making false disciplinary statements, thus damaging her performance
     review.
 42. There were multiple “Defendants” that took part in the making of false performance
     issues, namely Sam McLaughlin, Ashley Merrick, Kayla Schultz, and Ashley Rioux,
     Phil, and Latoya Lugan.
 43. The team of “Defendants” conspired together to deprive Plaintiff of her promotion,
     and her employment.
 44. Plaintiff claimed damages in her Offer of Settlement dated April 27,2023 to
     “Defendants” for an actual amount of $35,000 for pain and suffering, the
     approximated damages for one (1) year of wages at $16.70 per hour for 40- hour
     work week in the amount of $34,736, and an amount of $16, 610 for 3 years of
     vehicle maintenance to include repairs, fuel, and depreciation totaling $86,346.00.
 45. This amount of damages does not exceed the maximum limits of the Tex. R. Civ. P.
     47(c)(1-4) Claims for Relief.
    3. Plaintiff’s Employment
 46. Plaintiff began her employment with “Defendants” January 2021.
 47. “Defendants” promoted Plaintiff in January 2022 because of her good performance
     evaluations. (Please see exhibits 3 and 4).
                                                                                            4

Plaintiffs Supplemental Statement of Claim in Response to the Courts Findings,
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 48. Plaintiff received compliments and positive appraisals from team members. (See
     Docket No.5 ID 28, Case No. Case 3:22-cv-02188-D-BN)
 49. Plaintiff had positive reviews from fellow co-workers and no complaints about her
     performance from management.
 50. “Defendants” did not give Plaintiff negative performance reviews prior to her
     opposing discriminatory actions approximately early February, through early March
     2022 when the negative performance reviews started.
 51. Plaintiff continued to perform satisfactorily, and remained employed even though
     “Defendants” continued to write negative performance reviews early February,
     through early March 2022.


                                B. Statement of Material Facts
    4. Pretext and or Mixed Motive
 52. Plaintiff contends she has the necessary skill and experience for the Regional Support
     Specialist role as she is a college graduate with more than 10 years in customer
     service including phone and in person customer service skills. Plaintiff contends she
     worked for Defendants ADT LLC in the Field Operations Support Center (FOSC) as
     a scheduler for (12) twelve months prior to accepting the role of Regional Support
     Specialist.
 53. Plaintiff contends she scheduled technicians for jobs in her scheduling role
     performing the same tasks as the Regional Support Specialist’ such as using the
     technicians schedule to find available appointments according to the skill level of
     technicians available, networking with Regional Support Specialist’ to find sooner
     appointments, and to move appointments, when possible, to schedule sooner service
     appointments for missed appointments and or sooner appointment time requests.
 54. Plaintiff in her scheduling position took initiative to learn some of the duties of the
     Regional Support Specialist role to better facilitate her role as a scheduler as some
     appointments would be overbooked, under-booked meaning not scheduled at all and
     was a main complaint of customers.
 55. Plaintiff contends by networking with the Regional Support Specialists prior to
     applying for the Regional Support Specialist role she was able to learn and practice
     some of the tasks of the role prior to on-the job training.
 56. Plaintiff contends that it was imperative that she learn how to perform some of the
     Regional Support Specialist roles in her current role as scheduler as it helped the
     process of scheduling much easier to keep down customer complaints and to assist
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Plaintiffs Supplemental Statement of Claim in Response to the Courts Findings,
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    the technicians along the way of keeping the customer happy with their appointments
    being made and kept on time.
 57. Plaintiff did a sufficient job as scheduler as she would take in approximately 70-120
     calls per day during an 8- hour shift managing to get all of the customers scheduled
     for appointments with no corrective actions while she was employed as a scheduler.
 58. Plaintiff contends she would often work with the Regional Support Specialist because
     they were the department to go to for manager approval to put a customer as a priority
     on a technician’s schedule including special requests when a customer was missed the
     previous day and upset that their appointment was missed, these calls would take at a
     minimum 5-10 minutes sometimes up to 20-30 minutes.
 59. Plaintiff contends good customer service such as this is crucial when you have an
     upset customer that is threatening to take action due to the unfulfilled service
     appointments and displeased service from a technician and or product issues.
 60. Plaintiff contends often times technicians would be on her line in error, as a scheduler
     we were required to transfer the technicians to the Regional Support Specialists for
     support, but that she would give them department numbers they needed and or
     transfer them to the correct department instead of transferring them to the Regional
     Support Specialist to have the Regional Support Specialist transfer them again and or
     instruct them that they needed to contact a different department.
 61. Technicians would need to order parts, get technical support while in the field, speak
     with a Regional Support Specialist to close their ticket, and I would have to be
     familiar with the scenario and transfer to the correct department. This was not
     common knowledge. Plaintiff had to be assertive and learn all the duties of the
     different departments. Plaintiff took the initiative on her own to learn the different
     functions of the different departments.
 62. Learning the different functions of all the different departments was the hardest part
     of the position due to the amount of time it took to learn the different departments and
     their functions while performing my job duties. Transferring to correct departments
     saved time, and stress for the customer and fellow co-workers.
 63. Plaintiff contends she learned the issues the technicians would be calling about and if
     it was not a confirmation, or a technician work schedule time issue, Plaintiff would
     assist the technician in getting to the correct department. Plaintiff contends the
     technicians would give their thanks to Plaintiff for saving them time, giving them the
     correct information regarding the department they needed to be transferred to, and
     preventing them from being transferred to a Regional Support Specialist when it was
     a different department they needed.


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Plaintiffs Supplemental Statement of Claim in Response to the Courts Findings,
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 64. Plaintiff contends the Regional Support Specialist’ she worked with often thanked
     Plaintiff for assisting technicians in instances when they did not need a Regional
     Support Specialist and instead got the technician to the correct department. Plaintiff
     contends it all worked out well, and that team work makes the dream work, and that
     she did the same in many other aspects of her role as scheduler with other
     departments such as the sales, and trouble-shooting department.
 65. Plaintiff learned what departments the customer needed to be transferred to instead of
     transferring the customer to the incorrect department to later be transferred to a
     different department which happened a lot.
 66. Plaintiff contends she had to make lots of notes to get the correct information and that
     it took her months to learn how to better assist the customer as well as her fellow co-
     workers all while performing her role as scheduler.
 67. Plaintiff contends she requested her manager Nicole to do reviews and or mentor her,
     her handle time, her professionalism while on the line with customers and fellow co-
     workers including technicians for 3-6 months so that she would receive a high score
     on her performance reviews.
 68. Plaintiff contends she received high scores on her performance reviews at the end of
     her being mentored by her manager. Plaintiff fears retaliation against former co-
     workers who did not participate in unlawful employment practices.
 69. Plaintiff contends there were 1-2 weekly performance reviews called quality
     assurance reviews (QA) where the QA team would listen to Plaintiff on a call and
     grade the call, which the grading was strict. Plaintiff had to greet the technicians, and
     all fellow employees appropriately, actively listen to address all their issues, be polite,
     show empathy, close the call appropriately ask if you can further help, if there is
     anything else you can do to help, deescalate the issues, handle the call within 4
     minutes. Plaintiff contends she had a call intake of 70-120 calls per day consistently
     to keep up with her quota, including helping fellow co-workers and that she did all
     she could to keep her position with Defendants ADT LLC. Plaintiff contends her first
     week in her position of scheduler she had an intake of 30 plus calls consistently and
     each week the calls increased with greater experience and skill as she learned her
     role, including assisting in other aspects of her role with fellow co-workers, and
     assisting with customer issues that were not part of her role as scheduler, such as
     sales, upgrades, trouble-shooting, part requests, requests to speak to service
     supervisors.
 70. Plaintiff contends she did more than expected to be an ideal employee in her position,
     to be most professional, and supportive to the customer as well as fellow employees.


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 71. Plaintiff contends she had to learn the different aspects of the sales department
     because one part of sales was for upgrades, one part was for new customers, one
     department was for existing customers, one sales department did not take calls from
     customers, and Plaintiff had to through trial and error and from a list of complaints
     from customers that they had been transferred to the incorrect department, and from
     fellow co-workers that there were many different aspects of each department to learn
     the correct department depending on the customer’s issue.
 72. Plaintiff contends it took a lot of hard work and dedication to Plaintiffs employment
     position as a scheduler, and commitment to her employer Defendants ADT LLC, to
     fellow co-workers and to the customer to satisfy many of the requirements for good
     customer service in her role as scheduler.
 73. Plaintiff contends her level of professionalism as required by Defendants ADT LLC
     improved while being mentored by her manager Nicole, and her manager was
     familiar with Plaintiffs work ethics and her manager did agree that Plaintiff had
     reached a level of work ethic and professionalism to apply for the Regional Support
     Specialist role. Plaintiff contends it is required that you get approval from your
     manager to apply for a different role after you have been in your current role for 6 to
     12 months.
 74. Plaintiff contends she had only a verbal consultation with her mentor regarding any
     incidents of how she handled a call and no written corrective actions of any kind in
     her role as scheduler.
    5. Prejudice Behaviors

 75. (B) On a claim in which an individual proves a violation under section 2000e-2(m) of
     this title [section 703(m)] and a respondent demonstrates that the respondent would
     have taken the same action in the absence of the impermissible motivating factor, the
     court-
 76. (i) may grant declaratory relief, injunctive relief (except as provided in clause (ii)),
     and attorney's fees and costs demonstrated to be directly attributable only to the
     pursuit of a claim under section 2000e-2(m) of this title [section 703(m)]; and

 77. Plaintiff was evaluated based on her perceived personal characteristics which was
     prejudicial, as “Defendants” notated in their corrective action that Plaintiff “tone –
     “Whatchu you thing you need” when addressing a technician is inappropriate.
 78. A person’s language is considered a personal characteristic, and “Defendants”
    actions toward Plaintiff based on her language, and or use of is prejudicial, as they
    were perceived personal characteristics.



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 79. Prejudice can refer to unfounded pigeonholed beliefs and it may apply to “any
     unreasonable attitude that is unusually resistant to rational influence”1
                                C. Statement of Material Facts
    6. Discrimination/Racial Hostility/Hostile Environment/Racial Harassment
 80. “Defendants” falsely created performance issues on February 10, 2022, February 22,
     2022, and February 28, 2022 to aid Plaintiffs termination.
 81. “Defendants” intentionally, maliciously, and falsely created performance issues
     because of Plaintiffs race (African American).
 82. Had Plaintiff not been African American “Defendants” would not have created the
     false performance issues.
 83. The written statement (corrective action) made by “Defendants” on February 10,
     2022 infer racially inferior characteristics, and suggest Plaintiffs attitude, manner, and
     or nature is violative and or defiant.
 84. “Defendants” namely Ashley Merrick training supervisor who is white, sabotaged
     Plaintiffs good performance evaluations by creating bad performance issues.
 85. “Defendants” did not assess Plaintiff the same as her fellow co-workers.
 86. Plaintiff performance was as good or better than that of her co-workers.
 87. Plaintiff began at entry level and graduated to a skill level of Expert in her position.
 88. “Defendants” activities of belittling, humiliating, and scorning Plaintiff led to her
     termination.
 89. It was “Defendants” prejudiced act of placing Plaintiff in a “socially-formed
     category” ie., race (African American) that aided in Plaintiffs discriminatory
     treatment.2
 90. “Defendants” continued to switch trainers during on-the-job training.
 91. “Defendants” conspired to deprive Plaintiff of her promotion and employment.
 92. “Defendants” namely trainer Samuel McLaughlin who is white, deceitfully told
     Plaintiff he would “not let her fail” the on-the-job training.
 93. “Defendants” namely trainer Samuel McLaughlin who is white, would repeatedly say
     “ciao” to Plaintiff two days before Plaintiff was terminated. (Please see Exhibit 5)
 94. “Defendants” on more than one occasion during training refused to communicate to
     Plaintiff, which inhibited Plaintiffs ability to work.

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Plaintiffs Supplemental Statement of Claim in Response to the Courts Findings,
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 95. “Defendants” actions altered a term, condition, or privilege of Plaintiff’s
     employment.
 96. “Defendants” intentionally made Plaintiff’s performance inadequate.
 97. But for Plaintiffs race African American (black) Plaintiff would have received equal
     evaluations the same as my peers regarding performance evaluations, and disciplinary
     action.
 98. “Defendants” refuse to correct their discriminatory actions.3
 99. “Defendants” refused retraining to Plaintiff while letting other similarly situated
     white employees to participate in the training program.
 100. “Defendants” refused on numerous occasions to train Plaintiff for her new
    position.
 101. Plaintiff was unreasonably excluded from the training, apprenticeship, and or
    retraining program.
                                D. Statement of Material Facts
    7. Termination of Plaintiffs Employment
 102. Plaintiff was terminated due to the bad performance issues created by
    “Defendants” namely Ashley Merrick, training supervisor who is white.
 103.   “Defendants” did not follow their own code of conduct policies.
 104. Plaintiff filed a timely discrimination complaint with EEOC on March 7, 2022 the
    day of her termination and the complaint was officially filed 8-30-2022, charge no.
    510-2022-03700.
 105.   EEOC issued a right to sue letter 9-1-2022.
 106.   “Defendants” treated Plaintiff like this because she is African American (black).
 107. But for Plaintiff’s race African American (black), she would not have been
    terminated.
 108. Plaintiff would not have been subjected to the abundance of hostility from
    Defendants if she were not African American (black) but for her race.
 109. The National Labor Relations Board found that “Defendants” wrongfully used
    disciplinary actions to wrongfully discharge an employee in the past.4
 110. Plaintiff was forced to train with multiple trainers, Samuel McLaughlin who is
    white, Latoya Lunan who is black, Kara Marcon who is white, and Ashley Rioux,
    who is white.
                                                                                           10

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 111. Defendants harsh, unwarranted, prejudice treatment is the cause and or proximate
    cause of Plaintiffs injury.


                               E. Statement of Material Facts
    8. Failure to Investigate Plaintiffs Complaints
 112. Plaintiff complained of “Defendants” bogus performance reviews and
    “Defendants” retaliated against Plaintiff by terminating her employment.
 113. Plaintiff complained directly to the training staff Samuel McLaughlin, Latoya
    Lunan, Kara Marconi, and Nicole Kennedy, of her desire to overcome the barriers
    that were discriminatorily placed before her.
 114. “Discrimination within the meaning of Title VII of the Civil Rights Act of 1964
    can take many forms” 5
 115. Plaintiff and “Defendants” made an agreement implied, express or otherwise that
    a contractual obligation would be fulfilled.
 116. “Defendants” in their offer of employment to Plaintiff presented a written
    statement, and or policy that discrimination is prohibited in their workplace.
 117.   “Defendants” failed to prevent discrimination in their workplace.
 118. After inquiring about formal grievance procedures “Defendants” failed to provide
    any options to formally grieve her account of “Defendants” actions.
 119. Plaintiff was intentionally excluded from her employment opportunity to be
    promoted.
 120. “Defendants” technician employees have a union, and “Defendants” are familiar
    with or should be familiar with discrimination laws, yet “Defendants” repeatedly
    violate their own policies as well as laws against discrimination.
 121. Plaintiff is not the only person to have complained about discrimination and
    retaliation.6
 122. “Defendants” HR manager who is white, the operations manager in the
    department where Plaintiff was hired who is white, along with the training team all
    conspired to deny Plaintiff her promotion.
 123. The management team knew of the discriminatory actions taken by the training
    team, and did nothing about it.


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 124. The management team did not prevent the actions committed by the training
    team.
 125. “Defendants” have a history of retaliating against employees for opposing their
    discriminatory behavior.7
 126. Many other current and former employees have complained of “Defendants”
    discrimination and retaliation.
 127. “Defendants” failed to investigate Plaintiffs complaint regarding their bogus
    performance review and termination.
 128. “Defendants” failed to acknowledge Plaintiffs complaint and or their actions
    toward Plaintiff as wrongful.
 129. Many other current and former employees have complained of “Defendants”
    discrimination and retaliation.
 130. “Defendants” Ashley Merrick, Samuel McLaughlin, Latoya Lunan, Kara
    Marconi, all made statements that they were acting within the scope of their
    employment.
 131. “Defendant” Ashley Merrick stated: “it was the decision of the hirer ups”,
    “they’ve all decided”, when stating the decision to terminate Plaintiffs employment.
 132. Plaintiff describes on numerous occasions where “Defendants” deliberately
    excluded her from training, deliberately took disciplinary actions against her for same
    or similar activity of her peers.
 133.   Plaintiff did reapply for a similar position before her termination.


                               F. Statement of Material Facts
    9. Discrimination and Harassment because of Race
 134. “Defendants” gave inconsistent reasons for Plaintiff’s bad performance
    evaluations.
 135. Plaintiff’s positive performance reviews are inconsistent with “Defendants”,
    negative performance review of unprofessionalism.
 136. Plaintiff received negative performance reviews because of her race, and her race
    was the reason for “Defendants” making negative performance reviews.
 137. “Defendants” did not evaluate Plaintiff the same as her peers regarding
    performance and termination.
                                                                                         12

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 138. “Defendants” wrongfully used disciplinary actions in not promoting and
    discharging Plaintiff.
                               G. Statement of Material Facts
    10. False Disciplinary Actions
 139.   “Defendants” disciplined Plaintiff for opposing the treatment described herein.
 140. “Defendants” knew Plaintiff had good performance reviews, and above average
    performance in her position.
 141. “Defendants” knew Plaintiff had no attendance, and or corrective action issues
    when they terminated her for inability to perform her job duties.
 142. “Defendants” knew Plaintiff was an ideal candidate for the promotion promised to
    her based on her good performance review.
 143.   If Plaintiff were not black the actions described herein would not have happened.
 144.   “Defendants” reason for terminating Plaintiff is false.
                            H. Equal Employment Opportunity
 145. Sections 102 and 103 of the Civil Rights Act of 1991 amends Title VII to permit
    jury trials and compensatory and punitive damage awards in intentional
    discrimination cases. The Civil Rights Act of 1991 Title I-Federal Civil Rights
    Remedies: Damages in cases of Intentional Discrimination sec. 102 42 USC 1981 sec.
    1977A. Damages in cases of intentional discrimination in employment 42 USC
    1981a.
 146. The [EEOC] recognizes linguistic discrimination as national origin
    discrimination, and that “discrimination based on manner of speaking can be national
    origin discrimination” In re Rodriguez, 487 F.3d 1001, 1006-08 (6th Cir. 2007).
                               I. Statement of Material Facts
    11. ( Challenged Actions)
 147.   Plaintiff brings her causes of action Discrimination and Retaliation
 148. Title VII “has prohibited employers from discriminating against their employees
    on any of seven specified criteria: race, color, national origin, … , are personal
    characteristics set forth in section 2000e-2”. Discrimination based on any one of these
    five characteristics, often referred to as status-based discrimination.
 149. One category of wrongful employer conduct, the employee’s opposition to
    employment discrimination, and the employee’s submission of or support for a
                                                                                          13

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    complaint that alleges employment discrimination are wrongs based on types of
    protected employee conduct. University of Texas Southwestern Medical Center v.
    Nassar, 570 U.S. 338, 347 (2013)
 150. “Defendants” intentionally deprived Plaintiff of her promotion by falsely creating
    performance issues, and disciplinary action to discharge her from her employment
    because she opposed their treatment.
 151. “Defendants” intentionally deprived Plaintiff of an equal employment
    opportunity, training because of her race.
 152. “Defendants intentionally deprived Plaintiff of an equal employment opportunity
    that is to be employed because of her race.
 153. “Defendants intentionally deprived Plaintiff of an equal employment opportunity
    related to the terms, and conditions of her employment by creating a hostile work
    environment, when they refused to train her, and by treating her unfavorably and
    different than similarly situated white employees.
 154.   Plaintiff has described the unfavorable treatment throughout her complaint.
 155.   Plaintiff has described the hostile work environment throughout her complaint.
 156. Plaintiff has described similarly situated white employees that were treated
    different than Plaintiff throughout her complaint.
 157. Plaintiff has described the adverse treatment complained of and or committed by
    “Defendants throughout her complaint.
 158. Plaintiff contends the adverse treatment is due to her race, and her opposing the
    “Defendants” discriminatory treatment.
 159. Plaintiff contends but for her race she would not have been subjected to the
    perceived intentional race discrimination from “Defendants”.
 160. Plaintiff contends she has described the perceived discriminatory treatment of
    “Defendants”.
 161. Plaintiff contends she has described the injury caused by “Defendants”
    negligence.
 162. “Defendants” showed prejudice towards Plaintiffs “language” and “how she
    speaks” in their corrective action. The Court found in, In re Rodriguez, 487 F.3d
    1001, 1006-08 (6th Cir. 2007) that an employee was not selected for promotion based
    on a manager’s impression about the applicant’s “language” and “how he speaks.”


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 163. “Comments that directly suggest the existence of bias; no inference is necessary”
    Brown v. East Mississippi Electric Power Ass’n, 989 F.2d 858 (5th Cir. 1993) See
    Okoye v. Univ. of Texas Hous. Health Sci. Ctr., 245 F.3d 507, 514 (5th Cir. 2001)
    (explaining that in disparate treatment cases involving employee misconduct and
    discipline, a “plaintiff must show that the employer gave preferential treatment to
    another employee under nearly identical circumstances; that is, that the misconduct
    for which the plaintiff was discharged was nearly identical to that engaged in by other
    employees”).
 164.    Other white employees repeatedly had questions up to the last day of training.
    Plaintiff’s co-workers in the same training class had questions throughout the training
    period including up until the last day of training, received support, and were
    instructed to continue to reach out for support after training with no incident and or
    corrective action, no belittlement, no discharge from employment, and thanked for
    doing a good job during training. Plaintiff would also like to reference the following
    statement as support for her adverse treatment contention.
 165. Plaintiff also would like to reference the following in support of Defendants
    intent, liability, intent to harm, negligence and to assert Defendant’s knowledge that
    they intentionally denied Plaintiff the same opportunity to enhance her skills learned
    during training the same opportunity given to the other white employees in the
    training class.
    A. Defendant Bruce Roepke who is white, reached out to the chat for support on
       March 4, 2022 at least (7) seven times as noted in Plaintiffs Exhibit 3.

    B. Defendant Josh Harvey who is white, reached out to the chat for support on
       March 4, 2022 at least (11) eleven times as noted in Plaintiffs Exhibit 3.

    C. Defendant Amy Allums who is white, reached out to the chat for support on March
       4, 2022 at least (13) thirteen times as noted in Plaintiffs Exhibit 3.

    D. Defendant Stacey Taylor who is white, reached out to the chat for support on
       March 4, 2022 at least (11) eleven times as noted in Plaintiffs Exhibit 3.

    E. Defendant Martina Deshays reached out to the chat for support on March 4, 2022
       at least (5) five times as noted in Plaintiffs Exhibit 3.

    F. Defendant Joshua Harstick who is white, reached out to the chat for support on
       March 4, 2022 at least (2) two times as noted in Plaintiffs Exhibit 3.

    G. Defendant Jennifer Harvey who is white, reached out to the chat for support on
       March 4, 2022 at least (2) two times as noted in Plaintiffs Exhibit 3.

                                                                                         15

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    H. Defendant Whitney Critton reached out to the chat for support on March 4, 2022
       at least (3) three times as noted in Plaintiffs Exhibit 3.

    I. Defendant India Carroll who is white, reached out to the chat for support on
       March 4, 2022 at least (3) three times as noted in Plaintiffs Exhibit 3.

    J. Defendant Takeesha Whitlock reached out to the chat for support on March 4,
       2022 at least (4) four times as noted in Plaintiffs Exhibit 3.

    K. Defendant Madison Houchin who is white, reached out to the chat for support on
       March 4, 2022 at least (3) three times as noted in Plaintiffs Exhibit 3.

    L. Defendant Kayla Schultz training lead who is white, responded to Defendant
       Bruce Roepke, “Bruce reach out to the chat and let them know to contact the
       FOSC for confirmation requests”
    M. Defendant Kayla Schultz training lead in her response below to Defendant Bruce
       Roepke on March 7, 2022 when he stated he was “getting overrun here. Help
       please!, I'm about 3 hours behind, ” stated, “ Bruce reach out to the chat and let
       them know to contact the FOSC for confirmation requests, Also reach out to your
       manager and see if they can assist with the chat reuqests, letting them know you
       are getting bogged down with requests, I got Layota helping in the chat as well;
       Monday's can get crazy, hang in there we're getting you some help”.
    N. [Yesterday 2:31 PM] Simon, Sarah (training lead Defendant Sarah Simon
       responding to Defendant Bruce Roepke when he needed help.)
    O. Roepke, Bruce add me to your chat please

        [Yesterday 2:46 PM] Roepke, Bruce (Defendant Bruce Roepke asking for help
        with task to clear a tech for the next job)

        Gone one I'm trying to get a confirmation on and I have some questions on it.


        [Yesterday 2:46 PM] Roepke, Bruce

        got not gone


        [Yesterday 3:17 PM] Roepke, Bruce

        I'm getting overrun here. Help please!

        like 1

        [Yesterday 3:19 PM] Schultz, Kayla
                                                                                        16

Plaintiffs Supplemental Statement of Claim in Response to the Courts Findings,
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        Bruce reach out to the chat and let them know to contact the FOSC for
        confirmation requests.

        like 1

        [Yesterday 3:19 PM] Schultz, Kayla

        Also reach out to your manager and see if they can assist with the chat requests,
        letting them know you are getting bogged down with requests. (training lead
        Kayla Schultz instructing the on-the job training group to reach out to the
        Regional Support Managers for support once they are out of training)

        [Yesterday 3:20 PM] Roepke, Bruce

        Yeah, I've put it in the chats. I'll add a mgr too, but mine is off today

        [Yesterday 3:20 PM] Roepke, Bruce

        I'm about 3 hours behind

        [Yesterday 3:24 PM] Schultz, Kayla

        I got Layota helping in the chat as well

        [Yesterday 3:27 PM] Roepke, Bruce

        Thanks. This has been intense.

        [Yesterday 3:28 PM] Schultz, Kayla

        Monday's can get crazy, hang in there we're getting you some help


        [Yesterday 3:28 PM] Schultz, Kayla

        The techs also know that if they need confirmation they can call the fosc


        [Yesterday 3:28 PM] Roepke, Bruce

        I'll start on my EOD once I'm done with this confirmation and the phone call

        [Yesterday 3:42 PM] Roepke, Bruce

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        Thanks for all the help.

        heart 1


                                    12. Right of Recovery
    P. (a) right of recovery
        42 USC 2000 an employment discrimination claim against a recipient of Federal
        Financial assistance that otherwise might raise a Title VI issue must be brought
        under Title VII of the Civil Rights Act of 1964, as amended, 42 USC sec 2000e., if
        a primary objective is not employment.
        See N. Haven Bd. Of Educ. v. Bell, 456 U.S. 512, 530 (1982) the legislative
        history thus corroborates our reading of the statutory language and verifies the
        court of appeals conclusion that employment discrimination comes within the
        prohibition of Title IX. Bentley v. Cleveland Cty. Bd. Of Comm’rs 41 F.3d 600
        (10th Cir. 1994) (Sec. 504 claim alleging discriminatory termination of former
        employee).
        Courts also have held that Title VI adopts or follows the Fourteenth Amendment’s
        standard of proof for intentional discrimination, see Regents of the Univ. of Cal.
        v. Bakke, 438 U.S. 265, 412-18 (1978); and, generally, the Title VII standard of
        proof for disparate impact. See Guardians Ass’n v. Civil Serv. Comm’n of City of
        New York, 463 U.S. 582, 639 (1983); Elston v. Talladega Cty. Bd. Of Educ., 997
        F.2d 1394, 1405 n.11, 1407 n.14 (11th Cir. 1993)(see, infra, Section V, ch 1).
        Accordingly, cases under these constitutional and statutory provisions may shed
        light on the Title VI analysis in a given situation.
        Finally, cases decided under Title VIII of the Civil Rights Act of 1968, the Fair
        Housing Act, 42 U.S.C. Sec. 3601 et seq., may also be instructive regarding the
        disparate impact analysis under Title VI.8
        The 1991 amendments added the legal remedies of compensatory and punitive
        damages and the right to trial by jury for those remedies. 42 U.S.C. Sec.
        1981a(a)(1). Title VII plaintiffs now may recover injunctive and other equitable
        relief, compensatory and punitive damages, and attorney’s fees. 42 U.S.C. Sec.
        1981a(a)(1), 2000e-5(g)(1), (k). The Civil Rights Act of 1991 amended Title VII.




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                                               Prayer
Plaintiff now prays the Court will grant her leave to proceed with her complaint and hereby
objects to the Courts Findings, Conclusions, and Recommendation.
Done this 12th day of June 2023.
                                                                                  Sonya Chapman
                                                                                           Pro Se
                                                                             Sonya Chapman
                                                                                 1533 Honey Trl
                                                                            Glenn Heights, Texas
                                                                                           75154

                                      CERTIFICATE OF SERVICE

           I, Sonya Chapman do hereby certify that I have submitted an electronic copy via the
           courts website and the same is made available to the Attorney for Defendant Brent Sedge
           at the following address; 500 N. Akard Street, Suite 3550, Dallas, Texas 75201
           This 12th day of June, 2023.




1
    en.wikipedia.org/wiki/Prejudice
2
    en.wikipedia.org/wiki/Prejudice




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3
 https://www.indeed.com/cmp/Adt-1/faq/if-you-were-in-charge-what-would-you-do-to-make-adt-a-better-place-
to-work?quid=1c4v4
4
    National Labor Relations Board-Administrative Judge Opinions 16-CA-144548 (N.L.R.B. Nov. 16, 2018)
5
    https://www.eeoc.gov/laws/guidance/cm-604-theories-discrimination
6
    https://www.indeed.com/cmp/Adt-1/reviews/it-used-to-be-fun-20-years-ago-now?id=c0186ea42af64565
7
    National Labor Relations Board-Administrative Judge Opinions 16-CA-144548 (N.L.R.B. Nov. 16, 2018)
8
    https://www.ce9.uscourts.gov/jury-instructions/node/166




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